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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,

       Plaintiffs,

 v.                                    Civil Action No. 4:20-cv-00957-SDJ

 GOOGLE LLC,

       Defendant.


PLAINTIFF STATES’ RESPONSE IN OPPOSITION TO DEFENDANT GOOGLE LLC’S
           MOTION FOR DISMISSAL PURSUANT TO RULE 12(b)(1)
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                                         INTRODUCTION

        State antitrust enforcement is an “integral part of the congressional plan for protecting

competition.” California v. Am. Stores Co., 495 U.S. 271, 284 (1990). That was true in 1890, when

Congress authorized states to sue under the Sherman Act while preserving longstanding state

antitrust and unfair competition law. It was true in 1914, when Congress expanded states’ federal

right of action to enforce the antitrust laws. It was true in 2020, when the Plaintiff States filed this

action, which paved the way for a similar suit by the United States. And it was true in 2022, when

Congress put state and federal antitrust enforcers on equal footing to enforce antitrust laws in their

chosen venue. “[T]he United States Government, the governments of each state, and any individual

threatened with injury by an antitrust violation may all sue for injunctive relief against violation

of the antitrust laws” and can even “do so simultaneously against the same persons for the same

violations.” Hawaii v. Standard Oil Co. of Cal., 405 U.S. 251, 261 (1972).

        Ignoring that history, and without relevant citation, Google declares that “the States have

no authority to regulate or enforce federal” antitrust laws. Dkt. 200 at 10. The Clayton Act and

more than 100 years of history say otherwise. Ironically, the very case Google principally relies

upon points to “historical precedent” as the “guide” for Article III standing analysis. Harrison v.

Jefferson Par. Sch. Bd., 78 F.4th 765, 769 (5th Cir. 2023) (quoting United States v. Texas, 599 U.S.

670, 677 (2023)). The relevant historical precedents and case law provide clear guidance here.

Plaintiff States have alleged injuries to support both parens patriae and sovereign standing.

        To oppose Plaintiff States’ parens patriae standing on their federal claims, Google

misstates the facts and misreads precedents. Google’s argument against Plaintiffs’ sovereign

standing fares little better and offers no controlling, or even persuasive, authority. And with respect

to Plaintiff States’ state law claims, Google’s novel standing argument relies entirely on Jefferson




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Parish, an inapposite case that turned on unusual facts not present here, while ignoring the antitrust

precedents and constitutional principles that do apply.

       Without support on the law, Google tries to change the well-pleaded facts. It disregards the

pleadings and misreads interrogatory responses to mischaracterize the Plaintiff States’ standing

theories and injuries. Despite this attempt at sowing confusion, the Court’s decision here is

straightforward: Plaintiff States, like many multi-state antitrust enforcement coalitions before

them, have standing to pursue their claims in federal court. Any other decision would risk upending

the “integral” role that states play in enforcing antitrust law and the benefits of fair and competitive

state and national markets that such enforcement yields. The Court should deny the motion.

                                          BACKGROUND

       Plaintiff States “bring this action in their respective sovereign capacities and as parens

patriae on behalf of the citizens, general welfare, and economy of their respective states.” Fourth

Am. Compl. (“FAC”) ¶ 31. Plaintiff States allege numerous, large-scale injuries to each state, see

FAC ¶¶ 29, 502-525, and identify the state and federal statutes authorizing them to redress those

injuries, see FAC ¶¶ 601-758.

       In the teeth of these allegations, Google argues that “[s]ome states abandoned parens

patriae standing, some abandoned sovereign standing, and one is pursuing both.” Dkt. 200 at 1.

That is a misreading of an interrogatory response. Interrogatory 2 asked about the “remedies” that

Plaintiff States seek.1 Young Decl., Ex. A at 7. After objecting, Plaintiff States (a) reiterated that

they seek “any allowable remedy under federal or state antitrust law,” and (b) provided a

preliminary spreadsheet listing the “remedies” that Plaintiff States have “the present intent to

pursu[e]” and the state statutes that make such relief available. Id. at 7-8. The spreadsheet cites


1
 The focus on “remedies” is notable, since Google attempts to use the response to show Plaintiff
States lack the type of injury that could ground standing—a topic the response does not address.


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particular state statutes—but no federal statutes—and describes relief as “sovereign,” “parens

patriae,” or both. Id., Ex. B. The spreadsheet was designed to capture differences among state laws,

not abandon relief under federal law pleaded in the FAC. Google mistakenly treats this response

about state law remedies as a statement on federal law injuries. The amended interrogatory

response eliminates any possible confusion. See id., Ex. C at 8-9; id., Ex. D.

                                       LEGAL STANDARD

       Article III standing requires: “(1) an injury in fact that (2) is fairly traceable to the conduct

complained of and (3) redressable by a favorable judicial decision.” Jefferson Parish, 78 F.4th at

769 (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)). The Supreme Court

examines “‘history and tradition,’ among other things, as ‘a meaningful guide to the types of cases

that Article III empowers federal courts to consider.’” Texas, 599 U.S. at 676-77 (quoting Sprint

Commc’ns Co. v. APCC Servs., Inc., 554 U.S. 269, 274 (2008)).

       Plaintiffs need not identify “an exact duplicate in American history and tradition.”

TransUnion LLC v. Ramirez, 594 U.S. 413, 424 (2021). Rather, “courts should assess whether the

alleged injury to the plaintiff has a ‘close relationship” to a harm ‘traditionally’ recognized as

providing a basis for a lawsuit.” Id. (quoting Spokeo, Inc. v. Robins, 578 U.S. 330, 341 (2016)).

The parallel is relaxed further for states: when “protecting its quasi-sovereign interests, the [state]

is entitled to special solicitude in our standing analysis.” Massachusetts v. E.P.A., 549 U.S. 497,

520 (2007).

       Several types of injuries have traditionally supported a state’s standing to sue. These

include injuries to a state’s “sovereign, quasi-sovereign, proprietary, or private” interests. Jefferson

Parish, 78 F.4th at 769. States have sovereign interests in, at a minimum, (1) the “creat[ion] and

enforce[ment of] a legal code, both civil and criminal,” and (2) “the maintenance and recognition

of borders.” Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592, 601 (1982).


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States have quasi-sovereign interests, for which they can sue in a parens patriae capacity, in

(1) “the health and well-being—both physical and economic—of its residents” and (2) “not being

discriminatorily denied [their] rightful status within the federal system.” Id at 607.

                RESPONSE TO GOOGLE’S STATEMENT OF THE ISSUES

        Plaintiff States respond that they have both sovereign and parens patriae standing to pursue

both (1) state and (2) federal claims in federal court, which renders issue (3) moot.

                                            ARGUMENT

        Precedent, history, and federal statutes all confirm Plaintiff States’ standing to bring this

suit. Plaintiff States have alleged injuries of the kind that courts, including the Supreme Court,

have repeatedly affirmed as sufficient to support states’ standing to sue under both the federal

antitrust laws and state antitrust and consumer protection laws. Google arrives at a different

conclusion only by misconstruing the relevant precedent, ignoring history, and entirely

overlooking the federal-state antitrust enforcement system that Congress created.

I.      Plaintiff States Have Standing To Bring Federal Antitrust Claims.

        The States bring claims as sovereigns and under well-established parens patriae principles.

     A. Plaintiff States Adequately Allege Parens Patriae Standing.

        All Plaintiff States bring their federal claims in a parens patriae capacity for injuries to

their quasi-sovereign interests. See FAC ¶ 31. Each Plaintiff State has the authority to bring parens

patriae actions for federal antitrust violations and adequately alleges quasi-sovereign injuries.

            1. Suits To Enforce Federal Antitrust Laws Based on Alleged Injuries to States’
               General Economies Are Paradigmatic Parens Patriae Claims.

        Plaintiff States have standing because they allege the sort of injury that produces a

justiciable controversy. Article III standing turns on injury in fact, and the relevant injury for parens

patriae standing is injury to a quasi-sovereign interest, which “consist[s] of a set of interests that

the State has in the well-being of its populace.” Snapp, 458 U.S. at 602. Though this set of interests


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 “does not lend itself to a simple or exact definition,” id. at 601, each state has a quasi-sovereign

 interest in “the health and well-being—both physical and economic—of its residents in general,”

 id. at 607. Accordingly, courts have long recognized that a state’s “interest in preventing harm to

 its citizens by antitrust violations is, indeed, a prime instance of the interest that the parens patriae

 can vindicate by obtaining damages and/or an injunction.” In re Ins. Antitrust Litig., 938 F.2d 919,

 927 (9th Cir. 1991), rev’d in part on other grounds sub nom., Hartford Fire Ins. Co. v. California,

 509 U.S. 764 (1993). Congress has recognized this interest in multiple antitrust laws.

         In the Sherman Anti-Trust Act of 1890, Congress authorized states and other “person[s]”

 to sue in federal court to recover damages for federal antitrust violations. Ch. 647, 26 Stat. 209

 (1890) (codified at 15 U.S.C. §§ 1-7); Georgia v. Evans, 316 U.S. 159 (1942). In 1914, Congress

 amended the Sherman Act to authorize states and other “person[s]” to obtain injunctive relief for

 federal antitrust law violations. Clayton Act of 1914, Pub. L. No. 94-435, § 16, 38 Stat. 730

 (codified at 15 U.S.C. § 26); Evans, 316 U.S. at 162. And in 1976, Congress explicitly authorized

 states to sue in parens patriae to recover treble damages for federal antitrust violations that injured

 their residents. Hart-Scott-Rodino Antitrust Improvement Act of 1976, Pub. L. 94-435, 90 Stat.

 1394 (codified at 15 U.S.C. § 15c). States may bring federal antitrust claims exclusively in federal

 court. Gen. Inv. Co. v. Lake Shore & M.S. Ry. Co., 260 U.S. 261, 287 (1922).

         The Supreme Court recognized states’ antitrust enforcement powers long ago. In 1945, it

 made clear that Clayton Act § 16, the same cause of action at issue here, authorizes state parens

 patriae suits. See Georgia v. Pa. R.R. Co., 324 U.S. 439 (1945). There, the Court upheld Georgia’s

 standing to sue to enjoin a price-fixing conspiracy among railroads that injured “the economy of

 Georgia.” Id. at 447. Georgia alleged that price-fixing (a) “den[ied] to many of Georgia’s products

 equal access with those of other States to the national market”; (b) “limite[d] in a general way the

 Georgia economy” and “prevent[ed] the full and complete utilization of the natural wealth of the


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 State”; (c) “frustrate[d] and counteract[ed] the measures taken by the State to . . . promote the

 general progress and welfare of its people”; and (d) “h[e]ld the Georgia economy in a state of

 arrested development.” Id. at 444 (internal quotation marks omitted). Based on these allegations,

 the Supreme Court found that “the economy of Georgia and the welfare of her citizens have

 seriously suffered as the result of this alleged conspiracy,” and called these injuries “matters of

 grave public concern in which Georgia has an interest apart from that of particular individuals who

 may be affected.” Id. at 450-51.

        Following the Supreme Court’s lead, lower courts have routinely and consistently held that

 “[a]llegations of injury to the general economy of the State [] are sufficient to confer standing upon

 the Attorney General [] in an antitrust suit filed in a parens patriae capacity where the Attorney

 General seeks to sue on behalf of the citizens [] for injunctive relief.” Burch v. Goodyear Tire &

 Rubber Co., 554 F.2d 633, 634-35 (4th Cir. 1977).2 Plaintiff States’ suit here is no different.

            2. The Complaint Alleges Quasi-Sovereign Injuries That Support Standing.

        Plaintiff States’ complaint is replete with allegations of economic injury of the kind that

 have supported parens patriae standing in antitrust suits since Pennsylvania Railroad. Plaintiff

 States allege that “Google’s anticompetitive conduct has adversely and substantially affected the

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   See In re Elec. Books Antitrust Litig., 14 F. Supp. 3d 525, 531 (S.D.N.Y. 2014) (standing upheld
 where (a) the challenged conduct “deprived the Plaintiff States and their consumers of the benefits
 of competition,” (b) “the general economies of the Plaintiff States have sustained injury,” and (c)
 “Defendants’ activities . . . continue to have a substantial effect upon the trade and commerce
 within each of the Plaintiff States.”); New York v. Microsoft Corp., 209 F. Supp. 2d 132, 151-52
 (D.D.C. 2002) (standing upheld based on “‘significant adverse effect on competition within’” the
 plaintiff states) (citation omitted); New York v. Facebook, Inc., 549 F. Supp. 3d 6, 23 (D.D.C. 2021)
 (standing upheld based on allegations of (a) “reductions in the quality and variety of” products
 available to the states’ citizens, (b) price increases for the states’ consumers who used Facebook
 and “small and medium businesses” who advertised on Facebook, and (c) harms to “the States’
 economies in general” due to “suppressed innovation and investment in the social-networking
 space.”) (internal quotation marks omitted); In re Generic Pharms. Pricing Antitrust Litig., 605 F.
 Supp 3d 672, 680 (E.D. Pa. 2022) (“Preventing antitrust harms to a state’ citizenry is a recognized
 quasi-sovereign interest. . . . States may pursue injunctive relief . . . as parens patriae for
 generalized injury to their economies.”) (footnotes omitted).


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 Plaintiff States’ economies, as well as the general welfare in the Plaintiff States,” through “higher

 prices, reduced output, lower quality, reduced innovation, the exit of rivals, and foreclosed entry.”

 FAC ¶ 29. These harms accrue to “advertisers, publishers, and their consumers,” which “depriv[es]

 the Plaintiff States and the persons within each Plaintiff State of the benefits of competition.” Id.

        Though precedent has held that broad allegations like these are sufficient, the pleading here

 has far more, detailing across 24 paragraphs anticompetitive effects on Plaintiff States’ residents

 and economies. Id. ¶¶ 502-525. For example, “Google’s exclusionary conduct has allowed it to

 charge publishers supracompetitive prices in the publisher ad server market,” id. ¶ 506, “lowered

 the quality” of ad servers available to publishers, id. ¶ 507, caused exit of competitors and

 “remarkably weak” entry of “new competition” in that market, id. ¶ 508-509, lowered the output

 of news publications and other publishers, id. ¶ 510, and harmed “publishers’ customers, i.e.,

 individual consumers,” through “less content, lower-quality content, less innovation in content

 delivery, more paywalls, and higher subscription fees,” id. ¶ 511. Plaintiff States also allege

 widespread harms to business consumers and suppliers, individual consumers, and competition in

 four other markets: the Exchange Market, id. ¶¶ 512-517, the In-App Network Market, id. ¶¶ 518-

 519, and the Markets for Ad Buying Tools for both small and large advertisers, id. ¶¶ 520-525.3

        These injuries closely match (indeed, exceed) the type and scale of harms upon which

 Georgia relied in Pennsylvania Railroad. See 324 U.S. at 444 (the challenged conduct,

 (a) “limite[d] in a general way the Georgia economy,” “prevent[ed] the full and complete


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   Allegations of quasi-sovereign injury pervade the rest of the FAC, too. E.g., FAC ¶ 61 (alleging
 that Google charges publishers “double to quadruple the prices of some of its nearest exchange
 competitors” due to Google’s illegally acquired and maintained monopoly power); id. ¶ 118
 (alleging that Google’s ad server charges publishers “supracompetitive fees”); id. ¶¶ 119-21
 (alleging that Google’s ill-begotten monopoly power allows it to “degrade[] the quality of its ad
 server product without consequence” and undermine competition in other markets); id. ¶¶ 194-95
 (alleging that “Google’s monopoly power allows it to hide the details of the prices it charges to
 advertisers[,]” hindering effective competition).


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 utilization of the natural wealth of the State,” and “h[e]ld the Georgia economy in a state of arrested

 development”) (internal quotation marks omitted). Plaintiff States’ allegations exceed in

 specificity the alleged injuries that were sufficient in the In re Electronic Books case. See 14 F.

 Supp. 3d at 531 (the challenged conduct “deprived the Plaintiff States and their consumers of the

 benefits of competition,” harmed “the general economies of the Plaintiff States,” and “continue to

 have a substantial effect upon the trade and commerce within each of the Plaintiff States”) (internal

 quotation marks omitted). Ditto for Microsoft, 209 F. Supp. 2d at 152, and Facebook, 549 F. Supp.

 3d at 23. See supra n.2. Google’s arguments against parens patriae standing fail because

 “[a]llegations of injury to [a state’s] general economy . . . are sufficient to confer standing upon

 the Attorney General.” Burch, 554 F.2d at 634-35.

            3. Google’s Counterarguments Are Unpersuasive.

        Without citing this wall of precedent, Google attempts to impose new standing

 requirements unmoored from antitrust case law. It relies almost wholly on Jefferson Parish. See

 Dkt. 200 (citing Jefferson Parish 29 times). In Jefferson Parish, two students were suspended for

 “having a BB gun visible during virtual school”; Louisiana passed a law regulating suspensions

 (that applied retroactively); their families sued the school and settled; Louisiana intervened and

 sought to continue the case; the Fifth Circuit held that Louisiana lacked standing. 78 F.4th at 767.

 The problems were legion, among them: a complete lack of historical precedent; only two affected

 plaintiffs; the awkwardness of adjudicating a suit between a state and a public school board of that

 state in federal court; and the absence of “an injury that emanates outside the state’s sovereign

 authority,” since all relevant parties were within Louisiana. Id. at 773.

        Relying on Jefferson Parish, Google first argues that the harms alleged here are purely

 private and localized, as well as “remote and entirely abstract,” Dkt. 200 at 12, but the opposite is

 true. Louisiana could not establish injury “apart from the interests of particular private parties”


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 largely because the issue was quite local and did not affect “‘a sufficiently substantial segment of

 [the state’s] population.’” 78 F.4th at 772 (alteration in original) (citation omitted); cf. Dkt. 200 at

 11-12 (quoting these sections). Rather than two students at one public school, Google’s conduct

 resulted in higher prices, reduced quality, and other harms to “millions of users across billions of

 impressions,” FAC ¶ 263, “the ad inventory of millions upon millions of websites of all sizes,” id.

 ¶ 70, “the hundreds of thousands of advertisers using . . . Google Ads,” id. ¶ 146, and “at least ~44

 billion web display transactions per month in the United States,” id. Its illegal action harmed the

 “competitive process,” lowered the entry of competitors, and impaired innovation across five

 relevant markets. See, e.g., FAC ¶¶ 244, 245-501, 508-509, 515-516, 518, 522, 524. That is why

 Google injured “Plaintiff States’ economies” and the “general welfare in the Plaintiff States,” in

 addition to private persons. Id. ¶ 29. Antitrust case law is uniform in allowing standing upon such

 allegations.4 These allegations at minimum create the “reasonable inference[]” that Google broadly

 injured each Plaintiff State’s economy. Stallworth v. Bryant, 936 F.3d 224, 232 (5th Cir. 2019).

         Google argues that a quasi-sovereign injury must involve “allegations of discrimination”

 against the suing state, Dkt. 200 at 13, but that is not the rule. See Pa. R.R., 324 U.S. at 447 (relying

 on injuries to “the economy of Georgia” to find parens patriae standing). Snapp identified “not

 being discriminatorily denied its rightful status within the federal system” and “the health and

 well-being—both physical and economic—of its residents” as distinct and sufficient quasi-

 sovereign interests. Snapp, 458 U.S. at 607. Anticompetitive conduct emanating from Google’s

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   E.g., Microsoft, 209 F. Supp. 2d at 151-52 (“‘[M]illions of citizens of, and hundreds, if not
 thousands, of enterprises in each of the United States . . . utilize[d] PCs running on Microsoft
 software.’”) (first alteration in original) (citation omitted); Facebook, 549 F. Supp. 3d at 23
 (“[M]illions of [the plaintiff states’] citizens have experienced reductions in the quality and variety
 of privacy options and content available to them” and thus “millions have experienced a rise in the
 effective price of using Facebook.”) (internal quotation marks omitted). Some courts have held
 that states need not meet the Snapp requirements if state law expressly grants parens patriae
 authority. See, e.g., In re Pork Antitrust Litig., 495 F. Supp. 3d 753, 799-800 (D. Minn. 2020)
 (analyzing Puerto Rico’s explicit grant of parens patriae standing under Puerto Rico law).


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 headquarters in Mountain View, California injures Plaintiff States’ residents’ economic well-being,

 for which the States can sue without any allegation of discrimination. E.g., Facebook, 549 F. Supp.

 3d at 22 (“lower courts have consistently held that states have parens patriae standing to seek

 injunctions under Section 16 against antitrust violations the effects of which are widely felt”). This

 Court does not lose judicial power simply because Google harms competition in every state, rather

 than singling out the Plaintiff States. The longstanding “right to bring suit as parens patriae under

 the Clayton Act would be nullified where the harm sweeps broadly across the states” if there were

 a requirement of “state-specific injury.” Microsoft, 209 F. Supp. 2d at 151.

         Relying on Pennsylvania Railroad, Google also asserts that Plaintiff States’ injury does not

 “require[] recourse to federal court” because Plaintiff States could sue in state court. Dkt. 200 at

 13. The alternative forum discussion from Pennsylvania Railroad is a prudential consideration for

 the Supreme Court’s original jurisdiction that does not apply here. See 324 U.S. at 464-66. In fact,

 the Supreme Court expressly held that a complaint alleging “a violation of the federal antitrust

 laws” and “a common-law conspiracy” “should be heard in the appropriate federal district courts.”

 Washington v. Gen. Motors Corp., 406 U.S. 109, 111, 116 (1972) (emphases added). That is

 because, unlike the claims in Jefferson Parish, federal antitrust claims must be adjudicated in

 federal court.

         Google wholly disregards Congress’s statute authorizing Plaintiff States’ suit. When a

 statute creating a right of action “identif[ies] the injury it seeks to vindicate and relate[s] the injury

 to the class of persons entitled to bring suit,” that injury can “give rise to a case or controversy

 where none existed before.” Massachusetts, 549 U.S. at 516 (citations and internal quotation marks

 omitted). Section 16 authorizes “any person,” including a state, to sue for injunctive relief “against

 threatened loss or damage by a violation of the antitrust laws.” 15 U.S.C. § 26. There was no

 comparable statute in Jefferson Parish. Other courts have even held that section 15c’s


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 authorization of parens patriae suits eliminates the need for any quasi-sovereign injury. See In re.

 Elec. Books Antitrust Litig., 14 F. Supp. 3d at 531. Plaintiff States are not seeking money as an

 antitrust remedy, but that does not change whether the injuries alleged are sufficient for Article III.

 They clearly are. Aside from default judgments, prevailing plaintiffs can receive remedies without

 pleading them. Fed. R. Civ. P. 54(c). They do need to plead injury in fact. That is because remedies

 are analytically distinct from the kinds of injuries that our nation’s history and traditions fit within

 the “cases” or “controversies” this Court has “judicial power” to resolve. U.S. Const. art. III, § 2.

     B. Plaintiff States Also Have Sovereign Standing To Bring Their Federal Claims.

        Plaintiff States have sovereign standing, a commonplace proposition that Google breezily

 rejects with a categorical denial: “The States have no authority to regulate or enforce federal laws,

 and accordingly, they have no basis to assert sovereign standing for their federal law claim.” Dkt.

 200 at 10. Google’s sparse citations do not support its argument, and abundant authority points the

 other way. Federal law authorizes States to enforce federal antitrust laws. See 15 U.S.C. § 26;

 Evans, 316 U.S. at 162. States have been an “integral part of the congressional plan for protecting

 competition” since the Sherman Act was first passed in 1890. Am. Stores Co., 495 U.S. at 284. The

 State Antitrust Enforcement Venue Act reaffirmed Congress’s policy that States stand on equal

 footing with federal enforcers of the federal antitrust laws.5 Google deflects this history by

 distinguishing between federal and state law. But the “laws of the United States are laws in the

 several States, and just as much binding on the citizens and courts thereof as the State laws are.”


 5
   See H.R. Rep. No. 117-494 (Sept. 26, 2022) (“Delay is particularly undesirable in antitrust cases
 brought by the government because . . . ‘the purpose of the governmental antitrust suits differs
 from that of a private suit; the Government seeks to protect the public from competitive injury’”)
 (citation omitted); see also Press Release, Rep. Buck, Rep. Buck Introduces the State Antitrust
 Enforcement Venue Act (May 21, 2021), https://buck.house.gov/media-center/press-releases/rep-
 buck-introduces-state-antitrust-enforcement-venue-act (“States play a critical role in enforcing
 federal antitrust laws and should have the same benefit that is already afforded to federal antitrust
 enforcers—to select and remain in their preferred venue.”).


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 Claflin v. Houseman, 93 U.S. 130, 136 (1876). Google is indulging the false “assumption that

 federal laws can be considered by the states as though they were laws emanating from a foreign

 sovereign.” Testa v. Katt, 330 U.S. 386, 390-91 (1947). States have a sovereign interest in enforcing

 federal laws that, like the Clayton Act, grant States enforcement authority.

        Neither the text of Section 16 nor the holding of Pennsylvania Railroad limits States’

 standing to the parens patriae variety. Even where the antitrust statute’s text does specify parens

 patriae standing—as it does in 15 U.S.C. § 15c, but not 15 U.S.C. § 26—courts have held that

 states’ interests are not limited to “quasi-sovereign or proprietary interests.” Pennsylvania v. Mid-

 Atl. Toyota Distribs., Inc., 704 F.2d 125, 131-32 (4th Cir. 1983). They extend to the broader “public

 interest” associated with sovereign standing. Id.

        Jefferson Parish is not to the contrary. That case, like Google’s other citations, lacked any

 federal statutory cause of action. See Texas v. Pennsylvania 141 S. Ct. 1230 (2020). Jefferson

 Parish also turned on the fact that Louisiana “attempt[ed] to invoke federal jurisdiction to enforce

 mostly state law against a subordinate,” and “[n]either history nor tradition supports the use of our

 Article III judicial power in this way.” 78 F.4th at 771.6 Here, Plaintiff States invoke federal

 jurisdiction against a private party to enforce a federal statute that specifically authorizes suit,

 provides for exclusive federal jurisdiction, and has more-than-century-long history of authorizing

 state enforcement. Plaintiff States have sovereign standing. If the Court finds this question to be a

 close one, it need not go beyond finding parens patriae standing.

 II.    Plaintiff States Have Standing To Bring Their State Law Claims.

        Because Plaintiff States have standing to enforce federal claims, they a fortiori have

 standing to bring their state law claims. “State law antitrust enforcement had coexisted with federal

 6
   Google’s remaining case, Saginaw Cnty., Michigan v. STAT Emergency Med. Servs., Inc., 946
 F.3d 951 (6th Cir. 2020), is inapposite because it turned on the fact that the plaintiff county sought
 pre-enforcement declaratory relief but lacked an “actual or imminent” injury. Id. at 956.


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 enforcement from the time that the Sherman Act was passed and the constitutionality of such state

 law enforcement had long been accepted.” Harry First, Delivering Remedies: The Role of the States

 in Antitrust Enforcement, 69 Geo. Wash. L. Rev. 1004, 1010-11 (2001); see California v. ARC Am.

 Corp., 490 U.S. 93, 100 (1989) (upholding the “long history of state common-law and statutory

 remedies against monopolies and unfair business practices”).

     A. Plaintiff States Have Parens Patriae Standing To Bring State Law Claims.

        Courts hearing state antitrust enforcement actions routinely find Article III standing for

 accompanying state antitrust and consumer protection claims, relying on the same injuries that

 support standing for states’ federal claims. In Microsoft, the district court affirmed the multi-state

 enforcement coalition’s parens patriae standing for both federal (Clayton Act § 16) and state law

 claims based on the same quasi-sovereign injuries. See 209 F. Supp. 2d at 150. That is because the

 same Article III standing principles apply to both federal and state claims. See, e.g., In re Edmond,

 934 F.2d 1304, 1309 (4th Cir. 1991) (applying the Snapp requirements to state consumer protection

 claims). Google provides no unique arguments that apply to any state law claims, for which

 Plaintiff States have standing based on quasi-sovereign interest in “the health and well-being—

 both physical and economic—of its residents.” Snapp, 458 U.S. at 607.7 State antitrust and

 consumer protection “claims can either be brought individually in state court or included as

 supplemental claims to federal antitrust violations.” First, supra, at 1012; see also Gen. Motors

 Corp., 406 U.S. at 115 (requiring federal antitrust claims and supplemental state law claims to be

 brought in federal district court rather than as an original action).


 7
  Though the injuries arising from Google’s antitrust violations are sufficient, Plaintiff States also
 allege numerous additional injuries to their businesses, consumers, and economies arising from
 Google’s deceptive practices. E.g., FAC ¶ 538 (advertisers paid more for “billions” of
 impressions); ¶¶ 547-48 (publishers paid more on “billions” of exchange fees); ¶¶ 560-62 (Project
 Bernanke decreased publishers’ revenue and increased advertisers’ costs on “billions” of auctions);
 ¶ 596 (Google’s misrepresentations skewed “competition amongst ad exchanges”).


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     B. Plaintiff States Have Sovereign Standing To Bring State Claims.

        Google’s novel argument against a state’s sovereign interest in enforcing its own laws

 alongside federal antitrust claims contravenes basic standing doctrine, history, and judicial

 economy. Google’s argument would undermine the basic purpose of standing doctrine, which is

 “‘the idea of separation of powers.’” Texas, 599 U.S. at 675 (citation omitted). The “case or

 controversy” requirement prevents federal courts from “‘usurp[ing] the powers of the political

 branches.’” Id. at 676 (citation omitted). Here, states need no individualized injury to produce a

 “controversy” because they have sovereign powers to enforce their own laws for the general

 public. Further, Congress has long supported the role of state antitrust and consumer protection

 laws as an important complement to the federal antitrust laws. E.g., Crime Control Act of 1976,

 Pub. L. 94–503, 90 Stat. 2407 (providing state grants to “improve the antitrust enforcement

 capability” of the states). Plaintiff States’ sovereign standing in this case does not “usurp” the

 political branches’ power, Texas, 599 U.S. at 675, but rather vindicates it.

        Enforcement of state antitrust and consumer protection laws in federal court has ample

 historical precedent, which distinguishes it entirely from Jefferson Parish, in which “[n]either

 history nor tradition support[ed]” a state’s “attempt[] to invoke federal jurisdiction to enforce

 mostly state law against a subordinate.” 78 F.4th at 771. Here, Plaintiff States are not enforcing

 state law “against a subordinate,” but rather against Google, a private, foreign corporation.

 Enforcement of state law claims brought in federal court alongside federal antitrust claims has a

 long history.8 For that reason, “the Supreme Court has consistently declined to find federal pre-



 8
   See Jay L. Himes, Exploring the Antitrust Operating System: State Enforcement of Federal
 Antitrust Law in the Remedies Phase of the Microsoft Case, 11 Geo. Mason L. Rev. 37, 42 (2002)
 (“In passing the Sherman Act in 1890, Congress intended the new federal law to supplement—not
 to supersede—state antitrust laws.”); Herbert Hovenkamp, State Antitrust in the Federal Scheme,
 58 Ind. L.J. 375, 378-79 (1983) (Legislative history makes clear that the Sherman “Act was
 designed to supplement rather than to abrogate state antitrust enforcement.”).


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 emption of state antitrust laws,” including when both federal and state law claims are brought in

 the same suit in federal court. Himes, supra, at 42 (citing ARC Am. Corp, 490 U.S. 93).

        Finally, in deciding Google’s argument that these claims belong in state court, this Court

 should consider the practical consequences of Google’s proposed rule banning sovereign state

 antitrust and consumer protection claims from federal court. That rule would require rampant claim

 splitting between federal and state courts, particularly in multi-state actions like this one. States

 cannot bring federal antitrust enforcement actions in state court, and no one state court could hear

 all the state-law claims of the different states. So, under Google’s rule, the Plaintiff States would

 have to file suit in federal court and seventeen different state courts—all against the same

 defendant regarding the same anticompetitive and deceptive conduct. That looks nothing like the

 straightforward remand in Jefferson Parish. It is an absurd result. If Article III required it, one

 would expect Google to cite even a single case where such a requirement was imposed. There are

 none. Longstanding historical precedent is all on the States’ side, for standing as both parens

 patriae and as sovereigns.

    C. The Court Has Supplemental Jurisdiction.

        Google does not dispute that the state-law claims meet the test for supplemental jurisdiction

 under 28 U.S.C. § 1367. Rather, Google’s sole argument is that if Plaintiff States lack “standing to

 bring the federal law claim[s],” then the Court should not exercise supplemental jurisdiction over

 the state-law claims. Dkt. 200 at 14. The argument fails at the threshold, because Plaintiff States

 do have standing to bring their federal claims. Supplemental jurisdiction is therefore appropriate.

                                          CONCLUSION

        Plaintiff States respectfully request that the Court deny Google’s motion.




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                                CERTIFICATE OF SERVICE

        I certify that on February 15, 2024, this document was filed electronically in compliance

 with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

 Local Rule CV-5(a)(3)(A).




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